Case 3:06-cr-00211-CFD Document 44-3 Filed 06/02/09 Page1of3

Exhibit 2
Case 3:06-cr-00211-CFD Document 44-3. Filed 06/02/09 Page2of3

Shepherds Hey. ..
Clenches Farm lane
Sevenoaks
Kent
TN13 2LX
United Kingdom

March 24th, 2009

The Honorable Christopher F. Droney
United States District Court

Abraham Ribicoff Federal Building
450 Main Street, Suite 228

Hartford, CT 06103

Re: United Stetes v. John Houldsworth

Dear Judge Droney

| am submitting this ietter on behalf of John Houldsworth in connection with the
Court’s determination of his sentence.

My name is Andrew Baddeley. | am a citizen of the United Kingdom, aged 44,
married with two teenage children. | qualified as a chartered accountant in 1987 and
as a chartered tax adviser in 1990. | worked for Ernst & Young for the eight years to
1995 and then for the next few years af Price Waterhouse where | specialised in
provision of tax advice to the insurance industry. In 1998 | joined General Re where |
held a number of different positions culminating in appointment as Chief Financial
Officer of their UK.group of companies in early 2006. At the end of 2007 i was
appointed Group Finance Director of Atrium Underwriting Group Limited, the UK
parent company of a group that manages two syndicates at Lloyd’s of London.

} first met John in 4998 when | was being interviewed for employment as a tax
specialist within General Re. Over the next four years | worked with John regularly. {
often visited Dublin, Ireland and Stamford, Connecticut for my work and stayed. with
him on a few occasions, meeting his wife and children. On one such occasion | was
accompanied by my own family who spent a few days with John’s family. | enjoyed
John’s company and over time found that we shared a number of common interests
including both enjoyment of watching and playing a number of sports, and also our
respective involvement in and devotion to our families, supporting our wives and
children’s work, hobbies, sports and school activities.

John has always been a hard-worker, typically starting the day early but especially
when he was working in Stamford when he would travel early to the office both in
order to avoid traffic, and-to be available to colleagues working in European time-
zones. John invested significant effort in building contacts with the senior executives
throughout the General Re organisation. He also demonstrated a willingness both to
move himself and his family to different locations for the General Re group
(Bermuda, Ireland and the United States) and to travel extensively to support the
group’s business. His eagerness to assist colleagues around the organisation
together with his enthusiasm and energy made him popular with staff and senior
executives,
Case 3:06-cr-00211-CFD Document 44-3 Filed 06/02/09 Page3of3

Clearly. the last.four. years-have been very difficult for John and. his family. The
support of his family and friends has no doubt helped him cope with the lengthy
investigation, the realisation of what he had become Involved with, his role in it, and
the implications that it has had for his future, However, throughout the period, John
has managed to remain upbeat, focussing on the positives, such as the good health
that he and his family enjoy compared to what others sometimes have to cope with.
Jn order to illustrate this, | should like to make special mention of the time in early
2005 that John spent being supportive of me when my mother died after four weeks
of unexpected iliness, At a time when he was under enormous pressure himself, the
fact that he tock time out during those weeks and in the time afterwards to talk to me
and send messages of support, showed me the measure of the man and meant é
great deal to me. } know of another occasion when John similarly supported a
colleague who went through a traurnatic personal time.

| believe that through the fast four years John, having recognized early in the process
that he had been involved with an inappropriate activity, has tried very hard to assist
the authorities in their work. 1 sincerely hope that his involvement in that process will
soon be finished so that he can move forward with his family who have had to cope
with very difficult circumstances. A custodial sentence will bring further emotional
and financial strain on John’s family. | respectfully ask that you take a lenient
approach in setting any penalty that the Court deems appropriate in sentencing John.

I should Jike to thank you for taking the time to read this letter.

Yours sincerely

Artest —

Andrew Baddeley

